434 F.2d 69
    UNITED STATES of America, Plaintiff-Appellee,v.Donald Lee FORRESTER, Defendant-Appellant.
    No. 29502 Summary Calendar.**(1) Rule 18, 5th Cir.; See Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York et al., 5th Cir. 1970, 431
    
      F.2d 409, Part I.
      United States Court of Appeals, Fifth Circuit.
      Oct. 27, 1970.
      Ernest C. Britton, Columbus, Ga.  (Court-appointed) for defendant-appellant; Donald Lee Forrester, pro se.
      William J. Schloth, U.S. Atty., Macon, Ga., D.L. Rampey, Jr., Asst. U.S. Atty., for plaintiff-appellee.
      Before WISDOM, COLEMAN, and SIMPSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      In the United States District Court for the Middle District of Georgia a jury convicted Donald Lee Forrester of forcing a person to accompany him in the commission of a bank robbery, 18 U.S.C. 2113(e), and of using a firearm while committing a felony, 18 U.S.C. 924(c).  On 2113(e) he was sentenced to imprisonment for fifty years.  On 924(c) he was sentenced to ten years, to run concurrently.
    
    
      2
      He seeks reversal on the following grounds: (1) He should have been granted a severance; (2) Count 1 of the indictment should have been quashed; (3) There was insufficient evidence to identify Forrester with the offenses charged in the indictment; (4) The verdict of guilty is not supported by the evidence; and (5) Since co-defendants who entered pleas of guilty were sentenced to forty years, Forrester should have been sentenced to no more that.  In other words, it is contended that the additional ten years assessed against Forrester 'penalized him' for exercising his right to go to trial instead of pleading guilty.
    
    
      3
      Under prior decisions of this Court, too numerous to require elaboration, the first four grounds are wholly without merit and do not justify discussion.
    
    
      4
      The fifth ground, i.e., the attack on the length of the sentence, is likewise without merit, Beland v. United States, 5 Cir., 1942, 128 F.2d 795, cert. den. 317 U.S. 676, 63 S.Ct. 157, 87 L.Ed. 543; United States v. Litterio, 5 Cir., 1957, 244 F.2d 956, cert. den. 355 U.S. 849, 78 S.Ct. 75, 2 L.Ed.2d 58; Simpson v. United States, 7 Cir., 1965, 342 F.2d 643; Rule 32, Federal Rules of Criminal Procedure.
    
    
      5
      The judgment of the District Court is Affirmed.
    
    